          Case 2:06-cr-00174-RSM            Document 20       Filed 05/17/06      Page 1 of 2




01

02

03

04

05

06
                                UNITED STATES DISTRICT COURT
07                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
08

09 UNITED STATES OF AMERICA,              )
                                          )
10               Plaintiff,               )             Case No. 06-231M
                                          )
11         v.                             )
                                          )             DETENTION ORDER
12   HEE CHAN RYOU,                       )
                                          )
13               Defendant.               )
     ____________________________________ )
14
     Offense charged:
15
            Conspiracy to Commit False Use of Passport and Bank Fraud in violation of 18 U.S.C.
16
     §§ 1344 and 2.
17
     Date of Detention Hearing: May 16, 2006.
18
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
19
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds
20
     the following:
21
           FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
22
            (1)       Defendant has no ties to this community or to the Western District of
23
     Washington.
24
            (2)       Defendant was born in and is a citizen of South Korea.
25

26

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
     PAGE 1
          Case 2:06-cr-00174-RSM          Document 20        Filed 05/17/06      Page 2 of 2




01          (3)    Because defendant has many friends, both parents, and five brothers residing in

02 Korea, defendant is viewed as a risk of flight.

03          (4)    Defendant has little reason to avoid fleeing jurisdiction.

04          (5)    There are no conditions or combination of conditions other than detention that

05 will ensure the appearance of the defendant in court.

06          IT IS THEREFORE ORDERED:

07          (1)    Defendant shall be detained pending trial and committed to the custody of the

08                 Attorney General for confinement in a correction facility separate, to the extent

09                 practicable, from persons awaiting or serving sentences or being held in custody

10                 pending appeal;

11          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

12                 counsel;

13          (3)    On order of a court of the United States or on request of an attorney for the

14                 government, the person in charge of the corrections facility in which defendant

15                 is confined shall deliver the defendant to a United States Marshal for the purpose

16                 of an appearance in connection with a court proceeding; and

17          (4)    The Clerk shall direct copies of this Order to counsel for the United States, to

18                 counsel for the defendant, to the United States Marshal, and to the United States

19                 Pretrial Services Officer.

20                 DATED this 17th day of May, 2006.

21

22
                                                         A
                                                         JAMES P. DONOHUE
                                                         United States Magistrate Judge
23

24

25

26

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
     PAGE 2
